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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   Civil Action No.: 1:17-cv-00045-CMA-KLM

   STEPHANIE LOPEZ, individually,

          Plaintiff,

   v.

   CARL EDWARDS, individually, and
   CASPER TRAILER SALES, INC., a Colorado Corporation,

          Defendants.


   DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO AMEND JUDGMENT PURSUANT
                     TO FED. R. CIV. P. 50(B) AND 59(E)


          Defendants Carl Edwards and Casper Trailer Sales, Inc., by and through their

   counsel, GODFREY |JOHNSON, P.C., hereby respectfully submit their Reply in Support of

   Motion to Amend Judgment Pursuant to Fed. R. Civ. P. 50(b) and 59(e) as follows:

                                      I. INTRODUCTION
          Plaintiff makes three arguments in her Response, none of which supports denial

   of Defendants’ motion. First, Plaintiff asserts that Defendants cannot bring a Rule 50(b)

   motion when they have not raised the precise issue on a Rule 50(a) motion. Although this

   principle of law is correct, this case presents a unique situation because Defendants’

   issue on motion was not ripe until the jury returned a verdict below the $1,000 that Plaintiff

   admitted receiving. Plaintiff further argues that Defendants are precluded from bringing a

   Rule 59(e) motion where the prerequisites of a Rule 50(b) motion are not met. Tenth
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   Circuit case law and the Rule 59 Committee Notes specifically direct otherwise. Finally,

   without disavowing her testimony regarding receipt of $1,000, Plaintiff asks this Court,

   implausibly, to find that the judgment was based on a reasonable interpretation of the

   evidence. Plaintiff cannot pick and choose which testimony of hers to stand behind.

   Defendants respectfully request that the Court amend the judgment.

                                       II. ARGUMENT
   A. Defendants Could Not Raise This Precise Basis For A Rule 50(A) Motion
      Because The Issue Was Not Ripe Until The Jury Returned Its $878.75 Verdict

          In their Rule 50(a) motion, Defendants asked this Court for judgment as a matter

   of law on the period of March 8, 2016 to April 20, 2016. ECF no. 154-1 at 3:12-17.

   However, Plaintiff is correct that Defendants did not raise the specific issue regarding the

   $878.75 verdict vis-à-vis Plaintiff’s admission of being paid $1,000.

          This argument was not available to Defendants prior to the verdict because Plaintiff

   had created a fact dispute as to whether she worked hours over and above those reflected

   on her timecards. The fact that the jury did not believe that Plaintiff worked more time

   than was reflected on her timecards, and only awarded $878.75, created the precise basis

   for the present motion, which was not ripe prior to the verdict.

          Even assuming that Plaintiff is correct that Defendants cannot bring a renewed

   Rule 50 motion, that does not prevent the Court from awarding relief under Rule 59(e).

   B. Rule 59(E) Motions May Be Used Where An Argument Was Not Raised In A Rule
      50(A) Motion And Therefore Cannot Be Renewed Under A Rule 50(B) Motion

          The Tenth Circuit has permitted a party to raise an issue in a Rule 59(e) motion

   that could not be brought in a Rule 50(b) motion because it was not raised originally in a



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   Rule 50(a) motion. See Loughridge v. Chiles Power Supply Co., 431 F.3d 1268, 1275

   (10th Cir. 2005) (reviewing an issue raised under a Rule 59(e) motion where the argument

   was not raised in a Rule 50(a) motion and therefore a Rule 50(b) motion was improper);

   see also Fed. R. Civ. P. 59 (1946 Advisory Committee Notes) (stating that subsection (e)

   “deals only with alteration or amendment of the original judgment in a case and does not

   relate to a judgment upon motion as provided in Rule 50(b)”); Boaz v. Mut. Life Ins. Co.

   of N.Y., 146 F.2d 321, 322 (8th Cir. 1944) (cited with approval in the 1946 Notes) (holding

   that the district courts have the inherent power to alter or amend a judgment after its

   entry). None of Plaintiff’s cited case law is to the contrary.

          Loughridge also stands for the proposition that a Court may take action to correct

   a judgment when the basis for that action—the jury’s verdict—was unavailable under Rule

   50(a). 431 F.3d at 1275 (holding that a Rule 59(e) motion may be used to contest verdict

   inconsistencies). Therefore, Plaintiff’s argument that a Rule 59(e) motion cannot be

   brought where a Rule 50(b) motion would fail is incorrect and not a basis for denying

   Defendants’ motion to amend the judgment.1

   C. Plaintiff Cannot Have It Both Ways: Believe Her Testimony Regarding Her
      Unpaid Hours But Not Her Testimony Regarding Defendants’ $1,000 Payment

          Plaintiff’s only substantive response to Defendants’ motion is that the jury did not

   err in concluding that Plaintiff was not paid for the hours on her final timecards. Plaintiff

   does not deny that she received $1,000 cash from Defendants. Instead, she asserts that

   the jury must have, on the one hand, believed Plaintiff’s testimony that she worked the


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     Alternatively, Rule 60(b)(5) allows relief from a judgment that has been “satisfied,
   released, or discharged.”

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   hours reflected on the four final timecards and, on the other hand, believed Carl Edward’s

   testimony that he did not pay Plaintiff in cash or disbelieved Plaintiff’s testimony that she

   received $1,000 for her work reflected on those same timecards.

          This is precisely the clear error that Defendants seek to correct. The only way that

   Plaintiff can logically assert that the judgment should stand is by having the Court accept

   Plaintiff’s testimony regarding the March 8 – April 20, 2016 period as the grounds for the

   jury’s verdict but discount Plaintiff’s testimony regarding the $1,000 payment. Plaintiff

   should be estopped from employing her own testimony on an identical issue to gain a

   favorable verdict and at the same time deny its probative use to Defendants.

          Courts in similar circumstances have prevented plaintiffs from gaining the benefit

   of their evidence without accepting the less favorable results. See, e.g., Sutton v. United

   Air Lines, Inc., 130 F.3d 893, 903 (10th Cir. 1997), aff'd, 527 U.S. 471 (1999), overturned

   due to legislative action (2009) (“Plaintiffs cannot have it both ways. They are either

   disabled because their uncorrected vision substantially restricts their major live activity of

   seeing and, thus, they are not qualified individuals for a pilot position with United, or they

   are qualified for the position because their vision is correctable and does not substantially

   limit their major life activity of seeing.”); Kaighn v. Colvin, 13 F. Supp. 3d 1161, 1172 (D.

   Colo. 2014) (“Frankly, the Commissioner cannot have it both ways: she cannot in one

   paragraph of her brief suggest that Dr. Bowen's opinion is entitled to great weight, enough

   to override the opinion of a treating physician like Dr. Steele, and in the next paragraph

   complain that some of his conclusions are not even acceptable medical opinions because

   they are not stated with certainty.”).



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          Because Plaintiff does not deny that she was paid $1,000, it would be clear error

   to sustain a verdict based on the conclusion that she was not paid $878.75. Due to the

   attorney fee provision of the FLSA, this error results in manifest injustice.

                                     III. CONCLUSION
          For the foregoing reasons, Defendants respectfully request that this Court grant

   their motion to amend the judgment.



          Respectfully submitted this 27 day of November, 2018.

                                                     GODFREY | JOHNSON, P.C.

                                                     /s/Lily E. Nierenberg
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                              CERTIFICATE OF SERVICE

   The undersigned certifies that on November 27, 2018, a true and correct copy of the
   foregoing was filed and served via ECF/PACER on all parties of record, as follows:

   Donna Dell’Olio
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                                               /s/Lily E. Nierenberg
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